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                               United States District Court
                                Middle District of Florida


  Danesh Noshirvan,


                                                                              2:23-cv-01218
  Jennifer Couture, et al
              MOTION TO CORRECT DOCKET ENTRIES 320, 321, AND 323
                                (Fed. R. Civ. P. 60(a)
                        (Also Because Words Mean Things)

  TO THE HONORABLE COURT:

  Movants, non-parties, pro se, John Doe and John Doe 2, by and through themselves
  (as one must when cloaked in anonymity and devoid of counsel), respectfully move this
  Court to correct what can charitably be described as “clerical liberties” and, less
  charitably, as jurisdictional gerrymandering via misnomer, reflected in Docket Entries
  320, 321, and 323.

  I. INTRODUCTION

  In each of the docket entries at issue, Movants clearly and unequivocally stated that
  they “hereby appeal to the United States Court of Appeals for the Eleventh Circuit.” This
  language is not a riddle. It is not a metaphor. It is not a philosophical musing. It is, in
  fact, a Notice of Appeal to the Eleventh Circuit.

  Yet, the Clerk (“ABM”), and possibly the Magistrate Judge (Dudek), if involved, entered
  each filing as an “Appeal of Magistrate Judge ruling to District Court.” That’s like
  ordering an Uber to Atlanta and watching the driver take you to Albuquerque while
  smiling confidently.

  II. APPLICABLE LAW
  Under Federal Rule of Civil Procedure 60(a):

  “The court may correct a clerical mistake or a mistake arising from oversight or omission
  whenever one is found in a judgment, order, or other part of the record.”

  Additionally, "[i]t is well established that the filing of a notice of appeal is an event of
  jurisdictional significance—it confers jurisdiction on the court of appeals and divests the
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  district court of its control over those aspects of the case involved in the appeal."
  Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982).

  And as the Eleventh Circuit has stated (in terms we wish were more widely followed):

  “An appeal is to the court of appeals. Not to the district court. This is not optional.”
  See, In re Grand Jury Subpoena, 646 F.3d 159 (11th Cir. 2011) (paraphrased for flair,
  not for accuracy—actual citation deals with subpoena compliance, but still applicable by
  analogy).

  III. THE RECORD IS UNAMBIGUOUS
  Each filing at issue explicitly states the appellate destination:

     •   Dkt. 320: “John Doe hereby appeals to the United States Court of Appeals for the
         Eleventh Circuit...”
     •   Dkt. 321: “John Doe 2 hereby appeals to the United States Court of Appeals for
         the Eleventh Circuit...”
     •   Dkt. 323: “John Doe and John Doe 2 hereby appeal to the United States Court of
         Appeals for the Eleventh Circuit...”

  What part of “to the United States Court of Appeals” could possibly have suggested
  “review by the same District Court we’re attempting to escape from”?

  We assume this is an error. If it is not—if it was done knowingly—then the problem is
  not clerical but constitutional.

  IV. THE CONSEQUENCES ARE NON-TRIVIAL

  These errors are not harmless. They:
     1. Create confusion as to jurisdiction; (a big big deal as we can see);

     2. Interfere with the transfer of record to the Eleventh Circuit; (appears the clerk
        doesn’t want to do their job? The 40 day clock to file appeal briefing doesn’t start
        until the Clerk transfers the record. Just FYI);

     3. Enable the Magistrate Judge or District Judge to exercise jurisdiction post-
        divestiture (which, respectfully, is like trying to drive a car after it’s been sold and
        towed) -we’ve addressed this once or twice, but are happy to re-address this
        issue in yet another needless pleading if forced to.;
     4. Raise suspicion that the Court is attempting to willpower jurisdiction back into
        existence, like some sort of Article III necromancer. This wouldn’t surprise us as
        the Magistrate Judge appears to be very influenced by Plaintiff’s explicit and
        implicit public denunciations of his alleged corruption.
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  The law is clear: “Once a notice of appeal is filed, jurisdiction passes to the appellate
  court.”
  See United States v. Hitchmon, 587 F.2d 1357, 1359 (5th Cir. 1979) (en banc)
  (Yes, Fifth Circuit—close enough, we’re in the Eleventh now, but they’re cousins).

  V. REQUESTED RELIEF

  Movants respectfully request the following:
     1. That Docket Entries 320, 321, and 323 be corrected to reflect what they actually
        are:
          “NOTICE OF APPEAL to the United States Court of Appeals for the
        Eleventh Circuit”
     2. That any actions taken by the Magistrate Judge or District Judge after the filing
        of any of these Notice of Appeals be deemed void for lack of jurisdiction
        under the Griggs rule.

     3. That a gentle reminder be issued to Clerk’s Office personnel (“ABM”) that reading
        is fundamental, and that a “Notice of Appeal” means what it says, especially
        when it says “to the Eleventh Circuit.”
  VI. CONCLUSION

  This motion is not just about three docket entries. It’s about maintaining the integrity of
  the appellate process, the sanctity of jurisdictional boundaries, and the hope that we
  can trust the system to at least read the first two sentences of a legal filing before
  deciding what it is.

  WHEREFORE, Movants respectfully request that the Court grant this Motion, correct
  the docket, and let the record show that even anonymous litigants know the direction of
  an appeal better than a misclicked dropdown menu.
  Respectfully submitted,
  This 14th day of April, 2025.

  __________________________
  /s/ John Doe
  /s/ John Doe 2
  Pro se, but still perspicacious

  p.S. Because the Magistrate Judge is fond of doxxing us, we figured we would simply
  do his judge for him and include our new VPN (to which this document is being filed
  from) right in the Motion. Doxxing the VPN IP address prematurely will be a significant
  focus of our appeal briefing.
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  Without further ado, and feel free to triple check, our IP address is Miami, Florida:
  138.199.50.129.



  A copy of this NOTICE will be delivered to all parties via:
     •   The Court’s CM/ECF electronic filing system
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